                 Exhibit
                   A




Case 3:19-cv-00554 Document 1-1 Filed 07/01/19 Page 1 of 24 PageID #: 8
                                                                                                                         null / ALL
                                                                                                     Transmittal Number: 18637993
Notice of Service of Process                                                                            Date Processed: 08/30/2018

Primary Contact:           Cynthia Jones
                           Compass Group North America
                           2400 Yorkmont Road
                           Charlotte, NC 28217

Entity:                                       Touchpoint Support Services, LLC
                                              Entity ID Number 3290070
Entity Served:                                TouchPoint Support Services, LLC
Title of Action:                              Sandra G. Parker vs. Touchpoint Support Services
Document(s) Type:                             Summons/Complaint
Nature of Action:                             Personal Injury
Court/Agency:                                 Davidson County Circuit Court, Tennessee
Case/Reference No:                            Not Shown
Jurisdiction Served:                          Tennessee
Date Served on CSC:                           08/29/2018
Answer or Appearance Due:                     30 Days
Originally Served On:                         CSC
How Served:                                   Certified Mail
Sender Information:                           A. Gregory Ramos
                                              615-255-2555

Information contained on this transmittal form is for record keeping, notification and forwarding the attached document(s). It does not
constitute a legal opinion. The recipient is responsible for interpreting the documents and taking appropriate action.

                                   To avoid potential delay, please do not send your response to CSC
                    251 Little Falls Drive, Wilmington, Delaware 19808-1674 (888) 690-2882 | sop@cscglobal.com




               Case 3:19-cv-00554 Document 1-1 Filed 07/01/19 Page 2 of 24 PageID #: 9
CIRCUIT COURT SUMMONS                                                                                         E,TENNESSEE

                                                STATE OF TENNESSEE                                    0 F;rst
                                                 DAVIDSON COUNTY                               B A U6 291 ~,~s
                                               20T" JUDICIAL DISTRICT r.,                       g ; r[~] Pluries4~ 02
                                                                                           ICF ,hL
                                                                                                     r; n.Cl~r_'R. C! t '- zK

 Sandra G. Parker and David N. Jones, husband and wife,                                CIVIL ACTIO
                                                                                       DOCKET NO.




                                                                     Plaintiff         Method of Service:
                                                                                       0 Davidson County Sheriff
  Vs.
                                                                                       F—] Out of County Sheriff

  TouchPoint Support Services, LLC                                                     F Secretary of State

  Serve: Corporation Service Company                                                   ~X Certified Maii

            2908 Poston Avenue                                                         ~ Personal Service

            Nashville, Tn 37203-1312                                                   ~ Commissioner of Insurance
                                                                  Defendant

 To the above named Defendant:

 You are summoned to appear and defend a civil action filed against you in the Circuit Court, 1 Public Square, Room 302,
 P.O. Box 196303, Nashville, TN 37219-6303, and your defense must be made within thirty (30) days from the date this
 summons is served upon you. You are furt.her directed to fiie your defense with the Clerk of the Court and send a copy to
 the Plaintiff s attorney at the address listed beiow.

 In case of your faiiure to defend this action by the above date, judgment by defauit will be rendered against you for the
 relief demanded in the complaint.
                                                                                       RICHARD R. ROOKER
 ISSUED:                                                                                     Circuit courte
                                                                                        Davidson County, Tennessee

                                                                          By:
                                                                                              iieputy Glerk



   ATTORNEY FOR PLAINTIFF             I A. G        Ramos
                   or
                                      1414 Union Street, Ste. 1850

        PLAINTIFF'S ADDRESS           I Nashville, TN 37219

 TO THE SHERIFF:

         Please execute this summons and make your return hereon as provided by law.

                                                                                       RICHARD R. ROOKER
                                                                                              Circuit Courter



 Received this summons for service this            day of                    20



                                                                                                SHERIFF
                         ® To request an ADA accommodation, ptease contact Dart Gore at (615) 880-3309.

           Case 3:19-cv-00554 Document 1-1 Filed 07/01/19 Page 3 of 24 PageID #: 10
                                        RETURN ON PERSONAL SERVICE OF SUMMONS

I hereby certify and return that on the                               day of                                                         20            , I:


                      served this summons and complaint/petition on

                                                                                                                        in the following manner



                      failed to serve this summons within 90 days after its issuance because




                                                                                             Sheriff/Process Server

                                              RETURN ON SERVICE OF SUMMONS BY MAIL

I hereby certify and return, that on the                       day of                                 1   20        1 sent, postage prepaid by

registered return receipt mail or certified return receipt mail, a certified copy of the summons and a copy of the complaint in Docket No.

                                to the defendant,                                                              On the                     day of

                                                         , I received the return receipt for said registered or certified mail, which had been signed

by                                          on the                  day of .                                             ,20           Said retum
receipt is attached to this original summons and both documents are being sent herewith to the Circuit Court Clerk for filing.



SWORN TO AND SUBSCRIBED BEFORE ME ON THIS
             DAY OF                                         1 20                             PLAINTIFF, PLAINTIFF'S ATTORNEY OR OTHER PERSON
                                                                                             AUTHORIZED BY STATUTE TO SERVE PROCESS


            NOTARY PUBLIC or                          DEPUTY CLERK
MY COMMISSION EXPIRES:


                                     NOTICE
TO THE DEFENDANT(S):
           Tennessee law provides a ten thousand dollar ($10,000.00) debtor's equity interest
personal property exemption from execution or seizure to satisfy a judgment. If a judgment                              ATTACH
should be entered against you in this action and you wish to claim property as exempt, you
must file a wriften list, under oath, of the items you wish to claim as exempt with the clerk of                        RETURN
the court. The list may be filed at any time and may be changed by you thereafter as necessary;
however, unless it is filed before the judgment becomes final, it will not be effective as to any                       RECEIPT
execution or gamishment issued prior to the filing of the list. Certain items are automaticatly
exempt by law and do not need to be listed; these include items of necessary wearing apparel                             HERE
(dothing) for yourself and your family and trunks or other receptacles necessary to contain such
apparel, family portraits, the family Bible, and school books. Should any of these items be seized,                (IF APPLICABLE)
you would have the right to recover them. If you do not understand your exemption right or how
to exercise it, you may wish to seek the counsel of a lawyer.

STATE OF TENNESSEE                                   I, Richard R. Rooker, Clerk of the Circuit Court in the State and County aforesaid,
COUNTY OF DAVIDSON                                   do hereby certify this to be a true and correct copy of the original summons issued
                                                     in this case.
                                                                                  RICHARD R. ROOKER, CLERK
(To be completed only if
copy cer6fication required.)
                                                                                  By:                                                      D. C.

             Case 3:19-cv-00554 Document 1-1 Filed 07/01/19 Page 4 of 24 PageID #: 11
          IN THE CIRCUIT COURT FOR DAVIDSON COUNTY, TENNESSEE
                                                         2018 AUG 27 Pm 4: n2
    SANDRA G. PARKER and
    DAVID N. JONES, husband                              i?ICf-=f~.R D G? RGOKE r. C't.ER;i
    and wife,

                       Plaintiffs,

    V.                                                 No.
                                                       Jury Demand
    TOUCHPOINT SUPPORT SERVICES
    and TOUCHPOINT SUPPORT
    SERVICES, LLC,

                       Defendants.

                                      COMPLAINT

           Come now the Plaintiffs, Sandra G. Parker and David N. Jones, and would

    respectfully show unto the Court as follows:

           1.    This is a personal injury action resulting from a personal injury

    accident that occurred on August 28, 2017 at Saint Thomas Midtown Hospital in
u
    Nashville, Davidson County, Tennessee.

           2.    The Plaintiffs, Sandra G. Parker and David N. Jones, are husband and

    wife. They are residents of Gallatin, Sumner County, Tennessee.

           3.    The Defendant, TouchPoint Support Services ("TouchPoint"), is a

    Georgia corporation doing business as a commercial cleaning company in Nashville,

    Tennessee. TouchPoint is a member of Compass Group. At the time of the personal

    injury accident that is the subject of this case, TouchPoint was responsible for

    cleaning and maintaining the sixth floor of the building premises where the accident

    occurred. This building premises is Saint Thomas Midtown Hospital, located at

    2000 Church Street in Nashville, Tennessee.




         Case 3:19-cv-00554 Document 1-1 Filed 07/01/19 Page 5 of 24 PageID #: 12
      4.     The Defendant, TouchPoint Support Services, LLC ("TouchPoint

LLC"), is a Delaware corporation doing business as a commercial cleaning company

in Nashville, Tennessee. TouchPoint LLC is a member of Compass Group. At the

time of the personal injury accident that is the subject of this case, TouchPoint LLC

was responsible for cleaning and maintaining the sixth floor of the building premises

where the accident occurred. This building premises is Saint Thomas Midtown

Hospital, located at 2000 Church Street in Nashville, Tennessee.

      5.     On August 28, 2017, while lawfully on the above-referenced premises;

the Plaintiff Sandra G. Parker was caused to slip and fall by the wet and slippery

condition of the floor at Saint Thomas Midtown Hospital. This wet and slippery

condition of the floor was caused or permitted to be present by the negligence of the

Defendants and/or their respective employees, agents or servants, thus resulting in

serious bodily injuries to the Plaintiff Sandra G. Parker. The accident occurred as

the Plaintiff was assisting a new co-employee in helping him to become familiar

with the hospital.

      6.     At the time of the Plaintiff's personal injury accident, the Defendants,

through their employees, agents, and/or servants, were in the process of cleaning

and/or polishing, or had just cleaned and/or polished, a particular area of the sixth

floor of the hospital. In doing so, they caused the floor to be wet and slippery.

Notwithstanding the likelihood and foreseeability of someone slipping and falling on

the wet and slippery floor, the Defendants negligently failed to post any signs in the

area warning of the dangerous and hazardous condition of the floor.




                                    2 07/01/19 Page 6 of 24 PageID #: 13
   Case 3:19-cv-00554 Document 1-1 Filed
        7.    As a direct and proximate result of Defendant's negligence, the wet and

slippery floor caused the Plaintiff Sandra G. Parker to slip and fall as she walked on

it.

        8.    As a further direct and proximate result of the accident in this case, the

Plaintiff Sandra G. Parker suffered personal injuries, including permanent physical

and emotional injuries, loss of wages and earning capacity, pain and suffering and

loss of enjoyment of life. She also incurred medical expenses, including expenses

for hospitalization, doctor's fees, prescriptions and supplies, physical therapy and

counseling.

        9.    Prior to the accident in this case, the Plaintiff Sandra G. Parker was an

able-bodied woman, capable of performing her duties as a wife and as a companion

of the Plaintiff David N. Jones. By reason of her injuries resulting from the accident

however, she has become highly anxious, nervous and irritable, unable to work and

otherwise incapacitated. As a result, the Plaintiff David N. Jones has been deprived

of the services and consortium of his wife. Furthermore, Mr. Jones has incurred

hospital and doctors' bills as well as other medical bills resulting from his wife's

injuries in this case.

        10.   The accident and the Plaintiffs' resulting injuries and damages

proximately resulted from the negligence of the Defendants, as set forth above.

        WHEREFORE, the Plaintiffs sue the Defendants and demand judgment

against them as well as such other relief as they may be entitled to under the proof

of this case. The Plaintiffs further request that the costs of this cause be assessed to

the Defendants. Finally, the Plaintiffs demand a jury to try this cause.




                                       3 07/01/19 Page 7 of 24 PageID #: 14
      Case 3:19-cv-00554 Document 1-1 Filed
                               Respectfully submitted,



                                ~
                               A. Greggwy r6m . os, 410825
                               North, Pursell & Ramos PLC
                               Bank of America Plaza, Suite 1850
                               414 Union Street
                               Nashville, Tennessee 37219-1783
                               (615) 255-2555
                               Attorney for Plaintiffs




                                  4 07/01/19 Page 8 of 24 PageID #: 15
Case 3:19-cv-00554 Document 1-1 Filed
       IN THE CIRCUIT COURT FOR DAVIDSON COUNTY, TENNESSEE

SANDRA G. PARKER and
DAVID N. JONES, husband
and wife,

                    Plaintiffs,

V.                                                 No.
                                                   Jury Demand
TOUCHPOINT SUPPORT SERVICES
and TOUCHPOINT SUPPORT
SERVICES, LLC,

                    Defendants.



          PLAINTIFFS' REQUEST FOR PRODUCTION OF DOCUMENTS TO
            DEFENDANT TOUCHPOINT SUPPORT SERVICES, LLC

TO: TouchPoint Support Services, LLC
     c/o Corporation Service Company, Agent for Service of Process
     2908 Poston Avenue
     Nashville, TN 37203-1312

        Come now the Plaintiffs, Sandra G. Parker and David N. Jones, pursuant to

Rule 34 of the Tennessee Rules of Civil Procedure, and respectfully submit the

following Requests for Production of Documents upon the Defendant, TouchPoint

Support Services, LLC ("TouchPoint LLC"), to be answered, under oath, within

forty-five (45) days of the date of when this document was served upon the

Defendant.

        Pursuant to Rule 26 of the Tennessee Rules of Civil Procedure, when an

Request for Production of Documents requests or inquires of knowledge or

information in the possession or under the control of the party served, such request

or inquiry extends to the knowledge or information in the possession or under the




     Case 3:19-cv-00554 Document 1-1 Filed 07/01/19 Page 9 of 24 PageID #: 16
control of the party served, its officers, employees or agents (including its attorney)

unless privileged. In addition, all answers made are to be seasonably supplemented.

      You are respectfully requested to produce the following:

      1.     Any and all contracts and/or agreements relating to the Defendant

TouchPoint LLC and/or its services at the building premises in question. Please

produce as well any and all contracts or agreements between the owners/possessors

of the building premises and any maintenance and/or repair service in effect at the

time of Plaintiff's injury.

      RESPONSE:



      2.     Any indemnity agreement involving any of the parties to this case.

      RESPONSE:



      3.     Copies of any and all documents relating to Defendant's status as a

corporation, partnership, sole proprietorship, joint venture or other entity.

       RESPONSE:



       4.     Any rules, management guidelines, operating guidelines, or other

similar writing or document that purports to show operating procedures for the

management, care, maintenance, repair, and service of the premises where the

accident in this case occurred.

       RESPONSE:




  Case 3:19-cv-00554 Document 1-1 Filed 07/01/19 Page 10 of 24 PageID #: 17
       5.     Any and all photographs that Defendant has of the scene of the accident

or the resulting injuries to Plaintiff.

       RESPONSE:



       6.     Any and all expert reports that have been obtained from any expert.

       RESPONSE:



       7.     Copies of any and all statements made by Plaintiff concerning the

subject matter of this lawsuit, including any written statement, signed or otherwise

adopted or approved by Plaintiff hereto and any stenographic, mechanical, electrical,

or other type of recording or any transcription thereof made by Plaintiff hereto and

contemporaneously recorded.

       RESPONSE:
                                                ,


       8.     Any and all drawings, maps, or sketches of the scene of the accident in

question.

       RESPONSE:




       9.     Copies of any surveillance movies or photographs depicting the

Plaintiff.

       RESPONSE:




  Case 3:19-cv-00554 Document 1-1 Filed 07/01/19 Page 11 of 24 PageID #: 18
      10.    Any and all expert reports that were or will be reviewed by a testifying

expert in this case, including any and all expert reports or things that were or will be

relied upon in whole or in part by any testifying expert in this case.

      RESPONSE:



      11.    Any and all documents or tangible things prepared by any expert you

expect to call as a witness, including but not limited to those which would include

his/her report, factual observations, opinions, conclusions, photographs, field notes,

calculations, models, and exhibits.

      RESPONSE:




      12.    Copies of any and all reports of all similar accidents (i.e., similar to the

accident alleged in this case) prepared by any and all employees of the Defendant

TouchPoint LLC during the past five (5) years.

      RESPONSE:



      13.    A current copy of the curriculum vitae or resume of any expert who

may be called to testify at trial.

      RESPONSE:




  Case 3:19-cv-00554 Document 1-1 Filed 07/01/19 Page 12 of 24 PageID #: 19
      14.   A11 materials including, but not limited to, employee manuals,

memoranda, and correspondence pertaining to safety rules and/or regulations to be

followed by Defendant's employees to insure safety. This request includes any

training films and/or videotapes used by Defendant concerning spills and/or falls.

      RESPONSE:




      15.    Any and all documents, reports, or other written records pertaining to

any investigation concerning the subject accident.

      RESPONSE:




      16.    Any and all documents and tangible things whose production has not

been requested pursuant to any other item of this request but which you intend to

offer into evidence or use for demonstrative purposes during the trial of this case.

      RESPONSE:


                                        Respectfully submitted,



                                         ) . x~#,,62y.,
                                        A. Greg y Ramos, #10825
                                        North, Pursell, Ramos & Jameson, PLC
                                        Bank of America Plaza, Suite 1850
                                        414 Union Street
                                        Nashville, Tennessee 37219-1783
                                        (615) 255-2555
                                        Attorney for Plaintiffs




  Case 3:19-cv-00554 Document 1-1 Filed 07/01/19 Page 13 of 24 PageID #: 20
                        CERTIFICATE OF SERVICE

     A true and correct copy of the forgoing document was served upon the
Defendant with the Complaint.




                                   A. GregdK Ri6inos




  Case 3:19-cv-00554 Document 1-1 Filed 07/01/19 Page 14 of 24 PageID #: 21
       IN THE CIRCUIT COURT FOR DAVIDSON COUNTY, TENNESSEE

SANDRA G. PARKER and
DAVID N. JONES, husband
and wife,

                    Plaintiffs,

V.                                                 No.
                                                   Jury Demand
TOUCHPOINT SUPPORT SERVICES
and TOUCHPOINT SUPPORT
SERVICES, LLC,

                    Defendants.


               PLAINTIFFS' FIRST SET OF INTERROGATORIES
           TO DEFENDANT TOUCHPOINT SUPPORT SERVICES, LLC

TO: TouchPoint Support Services, LLC
     c/o Corporation Service Coinpany, Agent for Service of Process
     2908 Poston Avenue
     Nashville, TN 37203-1312

        Come now the Plaintiffs, Sandra G. Parker and David N. Jones, pursuant to

Rule 33 of the Tennessee Rules of Civil Procedure, and respectfully submit the

following Interrogatories to the Defendant, TouchPoint Support Services, LLC

("TouchPoint LLC"), to be answered, under oath, within forty-five (45) days of the

date of when this document was served upon the Defendant.

        Pursuant to Rule 26 of the Tennessee Rules of Civil Procedure, when an

Interrogatory requests or inquires of knowledge or information in the possession or

under the control of the party served, such request or inquiry extends to the

knowledge or information in the possession or under the control of the party served,

its officers, employees or agents (including its attorney) unless privileged. In

addition, all answers made are to be seasonably supplemented.



     Case 3:19-cv-00554 Document 1-1 Filed 07/01/19 Page 15 of 24 PageID #: 22
      In answering these Interrogatories, you are advised that the terms "premises"

or "premises in question" or "building premises" refer to the location where the

accident alleged in the Complaint occurred.

      1.    Please state the full name, address, job title, date of birth, and present

employer of each person answering or assisting in answering these Interrogatories on

behalf of Defendant.

      I:~~~~`:L"


      2.    State the name and address of the person or entity in control of the

specific area of the building premises where the accident that is the subject of the

above-captioned cause occurred.

      ANSWER:




      3.     Has Defendant TouchPoint Support Services, LLC been sued under its

correct name? If not, please specify its correct name.

      ANSWER:




      4.     State the name and address of each person, including experts, having

any knowledge of relevant facts related to the accident in question, the cause

thereof, or the damages resulting therefrom.

      ANSWER:




  Case 3:19-cv-00554 Document 1-1 Filed 07/01/19 Page 16 of 24 PageID #: 23
      5.     State the name, address, and telephone number of any persons who

witnessed the actual accident in question.

      ANSWER:




      6.     State the name and address of any potential party to this lawsuit not

already named as a party. Please specify the factual basis for your assertion that

these additional persons or entities should be made parties to this lawsuit.

      ANSWER:




      7.     Please state whether you have a copy of any statement the Plaintiff has

previously made concerning this .action or its subject matter and which is in your

possession, custody, or control.     For the purpose of this question, a statement

previously made includes, but is not limited to (1) a written statement signed or

otherwise adopted or approved by the person making it, or a(2) a stenographic,

mechanical, electrical, or other recording or a transcription thereof, which is a

substantially verbatim recital of an oral statement by the person making it and

contemporaneously recorded.

      ANSWER:




  Case 3:19-cv-00554 Document 1-1 Filed 07/01/19 Page 17 of 24 PageID #: 24
      8.     Please state whether Defendant, or any representative or agent of

Defendant, has obtained from the Plaintiff any statement, oral, written, or recorded

and state the date of obtaining any such statement from the Plaintiff.

      ANSWER:




      9.     Describe any insurance agreement under which any insurance company

may be liable to satisfy part or all of the judgment which may be entered in this

action, or to indemnify or reimburse for payments made to satisfy the judgment by

stating the name of the person and/or entity insured, the name of the insurer, and the

amount of any liability insurance.

      ANSWER:




      10.    Describe how the accident in question occurred and state specifically

and in detail what the claims or contentions of the Defendant will be regarding any

cause or contributing cause of the accident, including a statement in detail of the

facts or information upon which this contention is based.

      ANSWER:




  Case 3:19-cv-00554 Document 1-1 Filed 07/01/19 Page 18 of 24 PageID #: 25
      11.      Describe in detail any conversations Defendant or its representatives

and agents had with the Plaintiff or Plaintiff's representatives following the accident

in question.

      ANSWER:




      12.      State the full name, current address, telephone number, qualifications,

and present employment of each person you expect to call as an expert witness at the

trial of this cause, the subject matter on which each expert is expected to testify, the

substance of the facts and opinions to which such expert is expected to testify, and a

summary of the grounds for each opinion expected to be expressed by such expert.

      ANSWER:




      13.      State whether any expert you expect to call as a witness has prepared a

report, formal or informal, and if so, state the date(s) of such report(s) and to whom

each such report is addressed.

       ANSWER:



       14.     Please describe in detail any previous accidents or incidents of which

Defendant is aware which occurred in substantially the same way as Plaintiff's

accident or in the same or nearby location.

       ANSWER:




  Case 3:19-cv-00554 Document 1-1 Filed 07/01/19 Page 19 of 24 PageID #: 26
      15.    Please describe in detail any changes that have been made by Defendant

in the physical site of the accident or to the warnings or signs relating thereto since

the accident which is the subject of the above-captioned cause.

      ANSWER:



      16.    State whether the Defendant, or its representatives or agents, conducted

an investigation of the accident which is the subject of the above-captioned cause.

If so, identify the person or persons who conducted the investigation. Please state

whether a written report was generated as a result of the investigation.

      ANSWER:




      17.    Prior to the Plaintiff's accident in this case, when was the date and time

of the last inspection by Defendant, its employees or agents, of the physical site

where the accident occurred? Specify who conducted the inspection.

      ANSWER:




      18.    Please state whether Defendant was aware of the wet and slippery

condition of the floor, which Plaintiff alleges in Paragraphs 5 through 7 of the

Complaint to be the cause of the accident in question.

      :~►F.y`A'/_"
      ►




  Case 3:19-cv-00554 Document 1-1 Filed 07/01/19 Page 20 of 24 PageID #: 27
      19.    Describe what efforts Defendant made to warn of the wet and slippery

condition of the floor, which Plaintiffs allege in Paragraphs 5 through 7 of the

Complaint.

      ANSWER:




      20.    Please identify all photographs, videos, drawings, charts, diagrams,

measurements, surveys or other documents concerning the events and happenings

made the basis of this lawsuit, the area of the occurrence made the basis of this

lawsuit, persons or objects involved, either made before, at the time of or after the

time of the events in question, including any photograph made since the occurrence

of the subject accident.

      ANSWER:



      21.    Please state the name and address of each of Defendant's employees,

agents or representatives who were on duty at the premises on the day of the

accident in this case. With respect to each person specified, please provide his/her

job title and/or position with Defendant. Please identify with specificity which of

these particular employees, agents or representatives had participated in cleaning

and/or polishing the floor on the day of the Plaintiff Sandra G. Parker's accident in

this case.

       ANSWER:




  Case 3:19-cv-00554 Document 1-1 Filed 07/01/19 Page 21 of 24 PageID #: 28
                                    Respectfully submitted,



                                     ~
                                    A. Gre ry amos, #10825
                                    North, Pursell, Ramos & Jameson, PLC
                                    Bank of America Plaza, Suite 1850
                                    414 Union Street
                                    Nashville, Tennessee 37219-1783
                                    (615) 255-2555
                                    Attorney for Plaintiffs


                        CERTIFICATE OF SERVICE

       A true and correct copy of the forgoing document was served on Defendant
with the Complaint.




                                    A. Greg,9y amos




  Case 3:19-cv-00554 Document 1-1 Filed 07/01/19 Page 22 of 24 PageID #: 29
      The foregoing answers are true and correct to the best of my knowledge,

information and belief.



           I                       For TouchPoint Support Services, LLC



STATE OF TENNESSEE                 )
                                   )
COUNTY OF                          )

      Sworn to and subscribed before me this                     _ day of

                                2018.




                                   Notary Public

My Commission Expires:




  Case 3:19-cv-00554 Document 1-1 Filed 07/01/19 Page 23 of 24 PageID #: 30
                                  Wr1Mlill/dlajll%/:1l                                                                                                                        ~

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NORTH, PURSELL & RAMOS, PLC
            ATTORNEYS AT LAW
          BANK OF AMERICA PLAZA
       414 UNION STREET, SUITE 1850 '
     NASHVILLE, TENNESSEE 372 1 9-1 783




                                                   TouchPoint Support Services, LLC
                                                   C/O Corporation Service Company
                                                   2908 Poston Avenue
                                                   Nashville, TN 37203-1312




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                 Case 3:19-cv-00554 Document 1-1 Filed 07/01/19 Page 24 of 24 PageID #: 31
